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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,               :      Civil No. 1:16-CV-2145
                                            :
      Plaintiff                             :      (Chief Judge Conner)
                                            :
v.                                          :      (Magistrate Judge Carlson)
                                            :
THE MILTON HERSHEY SCHOOL                   :
AND SCHOOL TRUST, et al.,                   :
                                            :
      Defendants                            :

                                     ORDER

      AND NOW, this 25th day of April, 2018, following a telephone conference

held with the parties to address ongoing discovery disputes, and in accordance with

the instructions provided to the parties during today’s call, and the matters which

are the subject of prior, and pending, court orders, IT IS HEREBY ORDERED

THAT:

      1. Counsel for the Defendants shall confer with nonparty witness Larry

         Lehr in order to determine whether it is necessary to depose Mr. Lehr. In

         the event that the Defendants conclude that Mr. Lehr’s deposition is still

         needed, the deposition shall take place in Philadelphia, PA on or before

         May 25, 2018.
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 2. Counsel for the Defendants shall confer with counsel for nonparty

    WellSpan Philhaven, once new counsel has been appointed, in an attempt

    to resolve any issues related to WellSpan’s compliance with the subpoena

    duces tecum served by the Defendants on WellSpan on or about

    November 16, 2017. Counsel for the Defendants shall inform the Court

    on or before Friday May 4, 2018 as to whether there any issues related

    to the subpoena that cannot be resolved amicably.


 3. In the event of any further discovery disputes that may arise in this case,

    the parties shall notify the Court by contacting the undersigned’s Deputy

    Clerk, Kevin Neary. Mr. Neary may be reached by telephone at (717)

    221-3924 or by email at kevin_neary@pamd.uscourts.gov.




                                 /s/ Martin C. Carlson
                                 Magistrate Judge Carlson
                                 United States Magistrate Judge




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